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                        EXHIBIT 64
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                                                                                                          of 14 64




                              IK TIIE Crncurr CoUJff C,F Tl!E STATE OF OREGON
                                FOR TIIE CotlNTY OF .•lACK!ill,:,L ___________ _

                                                                 Case No:·-··-- 2,4SK01646_ __
                                              Petitioner

                                                                      TEMPORARY ORDER ON
                                                                      PETITION/CITATION FOR
              \',                                                     STALKING PROTECrrVE
                                                                             ORDER

                                            Respondent

                                       @:n~:E TQ RESPOND ENI'
                                       Review Lhis order carefully
  •   You must obey all provisions~of this Protective Order, even if Petitioner contacts you or gives
         you pennission to contact them
  •   You must appear personally in this court at the date and time shown on the Order to Show
         Cause or a warrant may be issued for your arrest
  •   You may be arrested nnd subject to civil and criminal penalties if you violate this order
  •   This order is enforceable anywhere in Oregon and in every other stale

  This matter came before the court on (date):               I ~ Z:?2 ~ bv.../.
                                                       /l1a.~1           ,,~Petition D Citation
  THE COURT FINDS:
  JZJ Probable cause exists to grant a Temporary Stalking Protective Order. This Order is in effect
( uritil further order of the court.

  THE Comrr ORDERS:
  The Petition or Citation for Stalking Protective Order is:
          □ DENIED
             0 Petitioner did not appear
             0 Petitioner did not establish a claim for relief
               □ Other:

          [J21 GRANTED. Respondent is prohibited from contacting Petitioner or Petitioner's
          11nmediate family or household members directly or through another person.

  "Cont:ict •• includes but is not limited to:
      ►   coming into the visual or physical presence of Petitioner
      ►   folto,,ing Petitioner
      ►   ,,·ailing Olltsidt! the horne. property. plac~ of \,·urk or ~rhool of Petitioner or uf a nH:inber of
          Petitioner's family or ho11~ehold (oprionol: list specific addresses or 1u,:ntions you tl'anr included)




 Temporary Order - Sulking                                                             OJD OFFICLAL
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      ;,   sending or making written or clcclronic communications in any form to Petitioner
      ►    speaking with Petitioner by any means
      ►    communicating ,\ith Petitioner through a third person
      ►    committing a crime against Pclitioncr
      ►    communicating with a third person who has some relationship to Petitioner ,~ilh the intent of
           affecting the third person's relationship with Petitioner                                    '
      ►    commnnicating ,,ith business entities with the intent of affecting some right or interest of
           Petitioner
      ►    damaging Petitioner's home, [Jropcrty, place of ,..,ork or school
      ►    delivering directly or through n third person any object to the home, property, place of work or
           school of Petitioner
      ►    service of process or other legal documents unless Petitioner is served as provided in ORCP 7 or 9

  NOTE: This Order docs not prohibit Respondent from appearing at any schedufod
  court appearances in this case
  Other orders/exceplions: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




  Judge Signature:




      ============~•                                       ==(l/l=f LI Z,/f'l '/
  Fe;lificntc of Readiness
  This proposed order is ready for judicial signature because service is not required under UTCR 5.100
  because this order i:, submitted ex parte as allowed by statute or mle

                      Pelitioner O Guardian a<l litem for Petili


  Date


                                                   Name (printed

  ~5-Co__fthbil..t\J.~~,a:._q_1St10
  Contact Address      City, Stat!!, ZIP
                                                                                      (~b90-'ZCO\)
                                                                                            ~tact Phone




  Temporary Order - Stalking                                                        OJI) OFFICIAL
  Page, 2 or2




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                                            SERVlCE INFORMATION
         ... The Respondent will receive a copy of this information"' ..
   If you do not want Respondent to know your residential address or phone number, use a
   contact address in the state where you reside or a contact phone number so the court a_nd
   the sheriff can reach you if necessary. Check for mail at this address frequently. The court
   will assume that you receive all notices sent to your contact address.

  PETITlONER:(NameJ --=-Hc..::E::.:ID:..;;l-'-M.:..:.·c..::B.:.:R.;::cO.c.:W-'-N--------0 Female O Male O Non binary

    2256 ABBOTT AVE.. ASHLAND. OR 97520
  ...Residence/Contact Address (Use a safe address):•••                          Street, CinJ, State, ZIP

                         11_-6_9_0_·2_0_0o_ _ _ _ _ _ _ _ _ _ (Use safe contact number)
  Contacl Phone Numbcr_5•_

  Age      42         Race/Elhnicity        WHITE                      Height_5_'9_"_ _ Weight               155lhs

  Eye Color       BLUE                    Hair Color _B_L_O_N_D_E_ _ __


  RESPONDENT: (NameJ_A_R_N_A_L_ID_PA_R_I_S_ _ _ _ _ _ _ _                               o Female (x] Male D Nonbinary
  Residence Address          13 RUE FERDINAND DUVAL, 75004 PARIS, FRANCE
                                                                                                                         County
  Phone Number           nm 401-78i~ .. 33 6 8
  Age _46_ _ _ Race/Elhnicity __W~h~11_e_ _ _ _ _ Height __
                                                          6_'0_"_ _ _ Weight                                       1751bs

  Eye Color __B_lu_e_ _ _ _ _ Hair Color _B_r_o,_,·n_ _ _ __
 ----------nEAsEmi:ourrursmFoRMA°TmN _________ _
                        TO HELP WITH SERVICE OF THE RESTRAINING ORDER
  Where is Respondent most likely to he found?
  (] Residence         Hours JartLJOpm__ Address above
  0 Employment                 Hours _ _ _ _ _ _Address on C/Fform
  D Other:                     Hours _ _ _ _ _ _ Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  Description of Vehicle -~u=nk=·'='o~w=n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

   Is there anything about the Respondent's character, past behavior, or the present situation that
  indicates that Respondent may be a danger to self or others? (Explciin); ____________
  .Jlc..spond.t:n1.hi!.ucc.cnrlµue.t,asciLw1waut£.tlcanJa;;ts__u1ciudin;µ:nnl.."ICJ.,.JJQLali=p.cr..!luLl:ourL.onkr_in22llR.l1:!8.L


  Does Respondent have any weapons, or access to weapons? (Explain):
                                                                                                 ----------
  Respnodcm is an Amcru::i.u.c..iu1..cn..aru.lueUJ.ihlbl!.ahlrJn.purclust..2..11:Wlf':uu.--------------


  Has Respondent ever been arrested for or convicted of :i violent crime? (Exp/a(nj:
   Unknown                                                                                                     ------




 Chi! Stalking - Ser\"ice Information                                                               OJD OFFICIAL
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                        IN nrE CIRCUIT COURT OF THE STATE OF OREGON
                                FOR THE COlJNTY OF JACKSON
                             100 S. Oakdale Ave, Medford Oregon, 97501


          t\e;ch \:\. °Blfow{\
                           ---~-~-Pe-ti-.ti-.o_n_e_r
                                                        Case No:         24SK01646
 v.                                                        ORDER TO SHOW CAUSE re:
                                                            STALKING PROTECTIVE
          lli04..\)~ 'J>~y......._._"(s
                                    __ • -..,---..                        ORDER
                                     Respondent


 A temporary Stalking Protective Order has been issued against the above-listed Respondent and
 is currently in effect.

 Both parties are ordered to appear IN PERSON in this court at the date and time below to
 explain whether the temporary order should be made permanent.

 RESPONDENT: If you do not appear at the bearing, a permanent Stalking Protective Order may
 be entered against you.

 PETITIONER If you do not appear at the hearing, the court may dismiss your case and
 terminate (end) your temporary Stalking Protective Order.


 Date:,


 11me:


 Location:      100 S. Oakdale, Medford, OR, 97501


 Additional Information:




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                             IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                      FOR THE COUNTY OF JACKSON



                                                   }                   24SK01646
                                                   )    Case No.:
                 r;?Petitioner                     )
                                                   )    NOTICE OF FILING OF
        and
                                                   )    0 CONFIDENTIAL INFORMATION FORM-(CIF}          1
                                                                                                       N
                                                        0 AMENDED CIF
           RJ.fD@& o/~J"3-=----
                 D Respondent .
                                                   ~
                                                 • )
                                                          (Stalking)




                     NOTICE: Confidential Information Form Has Been Filed
       •     Uniform Ttial Court Rule (LITCR) 2.130 requires that parties to staftjng cases place
             certain infonnation about themselves and other parties in a CIF when such infonnation
             is reqoired in a document filed with the court.
       •     The CJF is not available for public inspection except as authorized by law.
       •     Parties are allowed to see a CIF that contains infonnation about !hem.
       •     A party who wants to see a CIF that contains information about another party must ask
             for permission from the court or the other party by following the procedures set out in
             VTCRZ.130.




I am the (check one box):
15f!Petitioner D Respondent

 I filed Confidential Information Forms With the court about the following parties to this case
 (complete a section tor each pa,ty for whom you have ii/led out a CIF):

 1)    ..!E'me (Lc:st~ First, Middle):        \?lo uJJ\ 1 ~~ic\i , '1x, ~
        ~ Petitioner D Respondent

       Confidential Personal Information contained in CIF (chec.'< all that apply):

       '$i,artys date of birth
       ffJchildren's dale of birth, D employer's name, address, and telephone number




NOTICE RE: Fll..JNG OF CONFIDENTIAL Th"FOR.'\UTION FORM- STALKING Pa,;: l of2
(S::!!kbg &/2016)                                                   -

                                                                                                           • ...._,,




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           Name (Last, ~t, Middle):. _ _ _~.-!...l,.'l{t..::.i.:..iSJ-..,-..LA--"{_,(\~4."'--~"-"d,"'--_ _ _ _ _ __
  2)
           D Petitioner llil Respondent
           Confidential Personal Information contained in ClF (check all that apply):

           di\narty s date of birth
           CJciiildren's dare of birth,   lJJ employers name, address, and telephone number



   Signature                                                 •                 Print Name                         ••
   -~-1:,P,>-'-JbS=G:>.:e:e----.,__,l--\u.,.\,\:-o~~~B.).lL
   Contact Address
                                                        ✓ci"""'.~~\¼~lo(L
                                                             City, state, Zip
                                                                              995~ CuL-11J {,qo ~'Z,:.--oo
                                                                                 Contact Telephone




       NOTICE RE: FILING OF C01•ffIDEN'fL4L INFORMATION FORM- STA.LKING P:!.ge 2 of 2
       (S1:ill::ing &/2016)
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                                 IN TIJE CIRCUIT COURT 0FTilESTATE OF OREGON
                                    FOR Tl! F. COUNTY OF _...JACKS.{lli___


            HEIDI M. BROWN                                                     Case No:_ 24S~0,;;...1_6_4_6_ __
                                                      Petitioner

                                                                                    PETITION FOR STALI~fN§;
                        0 Filed by Guardian ad !item                                  PROTECTIVE ORDER ':?-
               \l,
                                                                                                                     ,"            :-r.::
                                                                                                    Ex parte                           I
            ARNAUD PARIS                                                                                                    ..'.     N
                                                   Respondent

       ►   I need an interpreter: 0 Spanish D ASL D other:_ _ _ _ _ _ _-,-,,v
                                                                                                                                       '-P.        ·-;:;
                                                                                                                                            .r:-   \·n
   .--------------------------------t-+---'::,,--....1--.0
                                  NQTICE TO PETITIONER
       ► Contact Address and Telephone Number: If you don't want the Respondent to
         know your residential address or phone number, use a contact address and telephone
         number so the court and the sheriff can reach you if necessary.

   I am the Petitioner. I declare that the following information is true:

       1. Residency
       I live in the county of __J~A~C~K_S=O~N_ _ _ _ _ _ _, state of                               OREGON
       Respondent lives in the county of _---'-P_'A-'-R-'-I_S______ , ~ of                                       FRANCE

       2. Age of Parties
           Petitioner:       ·-'4-=2_____                     Respondent: -'-'6~----
       3. Contact - Within the past,! years the Respondent has engaged in repeated and
          unwanted contact with me or a member of my immediate family or household• by
          (describe the incidents of contact heginning with the most recent. Include who was
          contacted.):

                a. Date and approxirnale time:                    Mo11dav,April22.2024;1t          5-.J~')l}Lf,,~-r_..__ __
                     Location:      Phone
                                   --------------------------
                     Des c: rip ti on: Jdr.J~ilcillQntae1t<l_C.dtstt..Stau.:lliid...m.:,:.ilirce1 supcn·iso1..ill..llu;__c_Qmpany wlm,; I
                     .unemployed. Cont:1<'t1nr, m, cmplovcr has been strictltprohibi1cd per the !!cncral jud!!mcnl in case
                      number: 22DR 17285. Additionally, Mr. Paris w;is ~tripped of the rights prol'idcd in ORS 107.1 Stl

                     jru;iudi.tig.Jl1c..ri;l.tltu.krum:..m>--,addr=.and.atil11:..cll.ilildi.tl.patm1....lill:_addres~Cbi\                                  1-
                h. Date and approximate time: Mond:iy,Arnl 22 .W~.111.J..dfui=m~--------
                   Location: _l_'h_o_nc_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


  'Your parents, children, sibliugs, spouse or Regis le red Domestic Partner, g.ramlpare111s. stepparents,
  and stepchildren, or anyone li\'illg in !he same resttlcnce as yon

  CiYil Stalking Petition                                                                               OJD OFFICIAi.
  Paget of 4




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                      Description:         Mr. Paps hii:; r~pcn,~dly nrtcmptccl 10 con1nc11hc children's grandrno1hcr. Margare1
                       Bro\\'nOlson.       fu...½.Ja"\- 2
                                                 ~=-'---='-----------------------

                c. Date and approximate time: -~I~u=c~A.....i.i~r~2=1~,2=0=2~4=n~t8=:=0S~A~M~---------
                      Location:          Phone Bcllvicw Elcmcn1arv School Ashland OR

                      Description: Mr. Paris con1ac1cd Bell view Elementary School to learn if the children arc
                      in auendance there. Per the general judgmcm in case number. 22DR 17285, Mr. Paris no longer has
                      the righls provided in ORS 107.154, which includes the righr to "To inspect and receive school records

                      and to consult with school staff concerning !he child's welfare and cducarion".     £:~lq i. \- 3
                d. Date and approximate time: _A_u_..g._u_stl_S_c,._pt_cr_n_be_r_o_f_20.;...2_2_ _ _ _ _ _ _ _ _ _ __
                     Location:           Ashland OR

                     Description: Mr. Paris hacked my personal computer. my personal email and mv confidcmial leQal
                      emails and placed a tracker on my car illegally. Sec case number: 22CR.59524




                     D Additional page attached
      4. Respondent knew or should have known that the contact was unwanted because:
            There is a court order ia place prohibiting bis contact wj1h 1hi:..cbildreo·s s c h o o l ~
            The general judgment case number is 22DR17285.          Regarding 1hc tracker on my car ;ind the hac~ing of ,nv
           personal com purer, /vlr. Paris lied about both incidents after the fact. and had multiple personal computers of

            his own al our fomily horne.


     5. Respondent's contacts made me afraid for my physical safety, or the safety of my
        immediate family or a member of my household, because:
          Mr. Paris h:is a history of violating courl orders and criminally removing my children from Orc~on and the US
          (sec case number 22DR I 728.5). His artcmpls al learning my location as well as the children's location

          have made me afraid for my physic:al safety ns well as thal of nry children, whether though ,·iolcncc or" new

         a11c111p1 at child abduction.




     6. [] Respondent made spoken or written threats directed at me that made me afraid of
        physical harm
        (explain why you believe the threats would result in physical harm, including any
        acts that support your belief or show that Respondent is likely and able to carry out
        the threat)



 Civil Stalking Petition                                                                        OJ D OFFICL\L
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           Mr. Pnris has allcmpled 10 know my whcrcabollls and 1hc children's location through diffcrcnl con1acts.

           Mr. Paris has been ordered by 1hc Jackson Couniy District Courl 10 submit 10 sc"cral psycholo10ical cvalua1ions

           l:{c conligues to demand !he children and has a,.,_hd=11c,..c1c,,.,d'-'1"'hc"-"m~in....,l.:.,;hc'-'·"";,=sl"-._ _ _ _ _ _ _ _ _ _ __




      7. Firearms
          I have the following relationship with Respondent (check all that apply):
            0 spouses or Registered Domestic Partners (current 01·Jormer}
            D cohabitants (current or former)
            [x] unmarried parents of a minor child
            0 sexually intimate relationship (current or former)
            D adults related by blood or marriage
          0 The Respondent has firearms (or has easy access to firearms)
          D The Respondent is already prohibited from possession or purchase of firearms or
          ammunition

      8. Additional Relationship Information (This information is optional. You do not haue
         to tell the court what your relationship to Respondent is. Your restraining order will
         not be denied if you choose not to provide relationship information.)
         Respondent is my:
                  D family member D roommate/cohabitant D landlord D neighbor
                  D other: _ _ _ _ _ _ _ _ _ _ _ _ _ __
      9. Existing Restraining and Stalking Orde1·s
         D There is a current restraining order or stalking order between Respondent and me
          County and slate: _ _ _ _ _ _ _ _ _ _ _ _ Case # : _ _ _ _ _ _ _ _ _ __
          County and state: _____________ Case#: _ _ _ _ _ _ _ _ _ __

  I ask the court to grant a Stalking Protective Order

 Ir;;;;:;by declare that the above statements arc true to the best of my knowledge
 and belief. I understand they arc made for use as evidence in court and I am
 subject Lo penalty for perjury.

  S"brnitt,d by [I Pctitioncr D G"acdian ad \item foe Pctitionec D Ath' foe Petitioner


  Date
         M"' t 20,,1                                             ~ /4
                                                                 Signature               - - - --- - ~ - ~ - - - - - -

                                                                                I lcidi M. Brown
                                                                 Name (printed)

   2256 Abbc,n A1c _                                Ashland, OR 97520                        (5-11 l 690-2000
 Contact Address (11sc a SAFE addn:.~s)              City, Stale, ZIP                      Contact Phone (use a SAFE numb.-r)

 Civil Stalking Petition                                                                                      O,JD OFFICIAi.
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   Attorney for Petitioner:


   Dale                                     Signature


   OSB#                                     Name (printed)


   Address                           City, State, ZIP                     Phone




  Ci\·il Stalking Petition                                         OJD OFFICIAL
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                                                                    Heidi Brown <h.brown@inspoctiongo.com:>




Call from Arnaud Paris
                                                                                   Mon, Apr 29, 2024 at 9 35 AM
Celeste Slarchild <celeste@inspectiongo com>
To· Heidi Brown <h.brown@1nspectiongo.com>

  Heidi,
  I received a call from Arnaud Paris on April 22 al 5:10pm EST My understanding is that he is not allowed
  10 contact me as your supervisor or anyone else associated with lnspectionGo, the company where you
  are currently employed.

  He proceeded to ask me questions about you, and your whereabouts. Per employee confidentiality
  concerns, I did not respond, but given the court order you shared with me, I thought you should be aware
  Best,.
  Celeste


                     Celeste Starchild
                     President & COO
                     celesle@inspec·tiongo com
                     301-233-1336



            inspr:cliongo.com




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      3:35                                   ,    LTE •·-


                                         0       G

    Chats
      ~      Archived

    -~- +33 6 88 28 36 41
    \._, : Jf ~ :. ,i~-SH' voice cat

    i:f~- Eric Olson                             L,;'14/24
    ':f{.!!· ~ Voice c2!!


             WhatsApp -~-
             :1~ Protec ,:2-::-{ed ~•: •
             ,n::~s;,;g.:-s with enci-to-e:~ci e ...




             Dorise Treiger                      lj1!/24




             Keira Sumner Au pai... tJ:·1/2il
             1hari;:.s 1oreverytl~in9


             Mike Coffelt                        Ll /10/2t.

                                                     ·.•'ll'




                                                                                                j
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                                                                                       Heidi Brown <hcidimparis@gmail.com;,



Bellview School
Meg Wright <Meg.Wright@ashland k12 or us>                                                            Tue. Apr 23. 2024 at 8 05 AM
To "heidimparis@gma1I com" <heidimparis@gmail.com>


 Heidi.

 I wanted to lei you know that Arnaud called yesterday, asking if the girls are registered. I told him I couldn't give him that
 information. and he wasn't very happy, but that's fme with me.

  He did leave Christine a voice mail. Even though the girls aren't registered, Christine would hke a copy of !he legal
  documents, just so we are covered

  Thank you

  Meg




                                                                                                                     a::w



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